                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
                          MILWAUKEE DIVISION

GREG MORRIS,
        Plaintiff,                           CASE NO. 20-cv-1572

      v.                                     JURY TRIAL DEMANDED

FAIRWAY TRANSIT, INC,

and

PAULINE JASKE

              Defendants.


        NOTICE OF WITHDRAWL AS COUNSEL FOR PLAINTIFF(S)


      Please take notice that Attorney Gregory P. Stratz is no longer an attorney at

Hawks Quindel, S.C. and should be removed as Counsel of record for Plaintiff(s) in

this matter. Our firm continues to represent the Plaintiff(s) in this matter and all

future notifications regarding this matter should continue to be directed to our

attention.

      Dated this 18th day of May 2022.

                                      HAWKS QUINDEL, S.C.,

                                      By: s/ Larry A. Johnson
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